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 7
      LOS ANGELES WATERKEEPER
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                             UNITED STATES DISTRICT COURT
10                          CENTRAL DISTRICT OF CALIFORNIA
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      LOS ANGELES WATERKEEPER, a                   Civil Case No. 15-cv-04326 MWF-JEM
12    California non-profit corporation,
13                                                 DECLARATION OF DREVET HUNT
                      Plaintiff,                   IN SUPPORT OF PLAINTIFF’S
14          vs.                                    REQUEST FOR ENTRY OF
15                                                 DEFAULT JUDGMENT
      A AND A METAL RECYCLING, INC., a
16    California corporation; SINDY CARDONA,
17    an individual;
                                                   (Federal Water Pollution Control Act,
18                                                 33 U.S.C. §§ 1251 et seq.)
19                    Defendants.

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      Hunt Decl. re: Default                       Civil Case No. 15-cv-04326 MWF-JEM
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 1          1.     I represent plaintiff Los Angeles Waterkeeper (“Waterkeeper” or “Plaintiff”)
 2    and am a counsel of record in this action. I have personal knowledge of the matters stated
 3    herein.
 4          2.     I am currently a member of the Bar of California and am admitted to
 5    practice before the United States District Court for the Central District.
 6          3.     On March 9, 2015, Waterkeeper issued a sixty (60) day notice of intent to
 7    sue (“Notice Letter”) to Sindy Cardona and A and A Metal Recycling, Inc. also known as
 8    KSI Metals (collectively “Defendants”). The Notice Letter informed the Defendants of
 9    their violations of the California General Permit for Discharges of Storm Water
10    Associated with Industrial Activities (National Pollutant Discharge Elimination System
11    (“NPDES”) General Permit No. CAS000001, State Water Resources Control Board
12    Water Quality Order No. 92-12-DWQ, as amended by Order No. 97-03-DWQ)
13    (hereinafter “Storm Water Permit”) and the Clean Water Act, 33 U.S.C. §§ 1251 et seq.
14    (“Clean Water Act” or “CWA”). The Notice Letter also informed Defendants of
15    Waterkeeper’s intent to file suit against them to enforce the Storm Water Permit and the
16    Clean Water Act.
17          4.     On June 8, 2015, Plaintiff filed a complaint against Sindy Cardona and A
18    and A Metal Recycling, Inc. also known as KSI Metals in the United States District
19    Court, Central District of California.
20          5.     Sindy Cardona and A and A Metal Recycling, Inc. were served on July 17,
21    2015, and were required to answer or otherwise respond to the complaint on or before
22    August 7, 2015.
23          6.     This declaration is being made in connection with the foregoing request to
24    the Clerk to enter default against Sindy Cardona and A and A Metal Recycling, Inc.
25          7.     On or about July 30, 2015, I spoke with Sindy Cardona to discuss the storm
26    water compliance issues at the Facility raised in the 60-day Notice Letter and the
27    complaint. At this meeting I suggested to Ms. Cardona that she and the other defendant
28    should retain legal counsel to represent them in this action. I also informed her that the
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 1    defendants are obligated to respond to the complaint in Court and that the deadline for
 2    doing so had passed.
 3           8.    On August 14, 2015, I spoke with Sindy Cardona to discuss the complaint
 4    filed against her, and the failure of any of the Defendants to timely respond to the
 5    complaint. At this meeting I again suggested that Defendants retain legal counsel to
 6    represent them in this action.
 7           9.    On August 31, 2015, I sent Ms. Cardona a letter to inform her that because
 8    of her continuing failure to respond to the complaint regarding the storm water pollution
 9    issues at the facility, Plaintiff would be requesting entry of default, and then a default
10    judgment. I once again suggested to Ms. Cardona that Defendants retain counsel, and of
11    the local rule 83-2.1.1.3 requiring corporations to appear only through an attorney.
12           10.   As of the filing of the request for entry and this declaration, none of the
13    Defendants have filed a response to Plaintiff’s complaint.
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15    Dated: August 31, 2015                         Respectfully submitted,
16                                                   LAWYERS FOR CLEAN WATER, INC.
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18                                                         /s/ Drevet Hunt
19                                                   Drevet Hunt
                                                     Attorney for Plaintiff
20                                                   Los Angeles Waterkeeper
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      Hunt Decl. re: Default                             Civil Case No. 15-cv-04326 MWF-JEM
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